  Case 4:22-cv-00297-O Document 97 Filed 09/22/22                 Page 1 of 2 PageID 5674



                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

 JOHN DOE,                                       §
                                                 §
         Plaintiff,                              §
                                                 §
 v.                                              §   Civil Action No. 4:22-cv-00297-O
                                                 §
 TEXAS CHRISTIAN UNIVERSITY,                     §
                                                 §
         Defendant.                              §

                                             ORDER

        Before the Court is Texas Christian University’s Unopposed Motion for Leave to File

Appendix Under Seal (ECF No. 88), filed September 19, 2022. TCU seeks to attach documents

under seal in support of its Motion for Summary Judgement (ECF No. 93), filed September 19,

2022.

        As this Court has stated previously on the record, Courts presume that judicial records are

to be kept open to the public. United States v. Abdullah, 2009 WL 2246156, at *2 (S.D. Tex. July

24, 2009) (citing Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597 (1978)). But the public’s

right to access court records is not absolute, and district courts have supervisory power to seal

documents if the interest favoring nondisclosure outweighs the presumption in favor of the public’s

common law right of access. Test Masters Educ. Servs. Inc., 799 F.3d 437, 454 (5th Cir. 2015)

(citing Nixon, 435 U.S. at 598).

        Because the Court finds that TCU has demonstrated good cause to file the records under

seal, and noting the motion is unopposed, the Court GRANTS the motion and DIRECTS the

Clerk of the Court to file the exhibits accompanying the motion (ECF No. 88-1 through 88-6,

ECF No. 89-1 through 89-4, ECF No. 90-1 through 90-4, ECF No. 91-1 through 91-5, and ECF

No. 92-1) under seal as TCU’s Appendix in support of its Motion for Summary Judgment.
Case 4:22-cv-00297-O Document 97 Filed 09/22/22       Page 2 of 2 PageID 5675



    SO ORDERED on this 22nd day of September, 2022.



                                      _____________________________________
                                      Reed O’Connor
                                      UNITED STATES DISTRICT JUDGE




                                     2
